
Trippe, Judge.
Strictly speaking, it would have been more regular had the &lt;court specified in the order what amount of the money should be retained by the sheriff, or to have ordered that some precise sum should be paid out. But that was a matter of more interest to the sheriff than to any one else. The order requires him to retain enough to pay the claim of the excepting *646creditors. That claim is for a specific so in, which possibly may be more or less, as it is affected by the time to which interest may be counted. There was more money in the sheriff’s hands than plaintiffs in error could demand, unless there was litigation for a series of years over the fund, and they were entitled to interest all that time. There was no one else claiming the excess but defendants in error. If the sheriff pay out too much under the order, it is at his peril, and we do not see how Berry &amp; Company can be injured. . Besides, the mere matter of their probable right to claim that their debt shall bear interest until they receive the fund — if it be finally adjudged to them — is not enough to demand the holding up of a considerable amount of money in excess of their claim, to the injury of the debtor and other creditors, when the remaining fund left in the sheriff’s hands under the order, and which, of course, is sufficient to pay plaintiffs’ debt at present, may, by an order of the court, be safely disposed of, so that it shall produce precisely the interest that plaintiffs may finally claim.
Judgment affirmed.
